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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,

                        Plaintiff,
                                                            MEMORANDUM AND ORDER
        -against-                                               05 CR 401 (ILG)

 DWAYNE STONE,
 JAMES McTIER and
 SHARIEF RUSSELL,

                         Defendant.
 ----------------------------------------------x
 GLASSER, United States District Judge:

        The defendant Russell once again moves this Court for an Order that would sever

 his trial from that of his co-defendants McTier and Stone or, in the alternative, preclude

 the government from introducing in evidence the out of court statements of McTier and

 Stone. The basis upon which he seeks this relief is that the out of court statements made

 by them to law enforcement officials are “testimonial” and inadmissible in accordance

 with Crawford v. Washington, 541 U.S. 36, 52 (2004). He contends that, among other

 things, those statements tend to prove the existence of the “enterprise” (the Folk

 Nation), and his membership in a conspiracy to participate in the affairs of that

 enterprise through a pattern of racketeering, essential elements of the crimes charged

 which the government must prove beyond a reasonable doubt.

        In opposition to the motion, the government represents that it will offer the

 statements of McTier and Stone, duly redacted in accordance with Bruton v. United

 States, 391 U.S. 123 (1968), only against each of them and request the Court to give the

 jury a limiting instruction to that effect at the appropriate time.
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                                         Discussion

        The statements of McTier and Stone made to law enforcement officers, redacted

 in compliance with Bruton v. United States, 391 U.S. 123 (1968), were “formal

 statement[s] to government officers bear[ing] testimony in a sense that a person who

 makes a casual remark to an acquaintance does not” and “the Framers would not have

 allowed admission of testimonial statements of a witness who did not appear at trial

 unless he was unavailable to testify, and the defendant had had a prior opportunity for

 cross-examination.” Crawford v. Washington, 541 U.S. 36, 51-54 (2004). The question

 this motion presents is whether statements which pass muster pursuant to Bruton must

 also pass muster pursuant to Crawford? A review of Bruton and Richardson v. Marsh,

 481 U.S. 200 (1987), will provide the answer.

        Bruton held that a defendant (here, Russell), is deprived of his Sixth Amendment

 right of confrontation when the facially incriminating confession of a non-testifying co-

 defendant is introduced at their joint trial even if the jury is instructed to consider the

 confession only against the co-defendant. In Bruton, the co-defendant’s confession

 explicitly implicated the defendant. The redacted statements of McTier and Stone make

 no reference to Russell, explicitly or implicitly.

        Russell does not dispute his anonymity in those statements. He contends that

 those statements will tend to prove the existence of the enterprise, an element of the

 crimes charged in Counts I and II, substantive RICO and RICO conspiracy respectively,

 and in Count XX (Murder in Aid of Racketeering) and Count XXII (Attempted Murder

 in Aid of Racketeering). It is not enough, however, for the government to prove the

 existence of an enterprise to establish Russell’s guilt, the government must also prove

 that he was associated with the enterprise in some meaningful way to prove his guilt in


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 Count I; that he was a member of the conspiracy in Count II; and, that he committed the

 murder and attempted to commit the murder in Counts XX and XXII respectively. The

 most critical and imaginative reading of the statements of McTier and Stone do not

 identify Russell as tied to those Counts. Other evidence will have to be introduced at

 trial to link him to the crimes with which he is charged. Richardson compels the

 conclusion that his contention that the admissibility of those statements is precluded by

 Crawford and that his trial must be severed from theirs is misplaced. The Court in that

 case held that Bruton was not applicable in a case where “the confession was not

 incriminating on its face, and became so only when linked with evidence introduced

 later at trial. . . .” 481 U.S. at 208. The Court went on to observe that trying “defendants

 separately whenever an incriminating statement of one of them is sought to be used. . .

 is not as facile or as just a remedy as might seem.” Id. at 209. And in language

 peculiarly appropriate here wrote:

               One might say, of course, that a certain way of assuring
               compliance would be to try defendants separately whenever
               an incriminating statement of one of them is sought to be
               used. That is not as facile or as just a remedy as might seem.
               Joint trials play a vital role in the criminal justice system,
               accounting for almost one-third of federal criminal trials in
               the past five years. Many joint trials - for example, those
               involving large conspiracies to import and distribute illegal
               drugs - involve a dozen or more codefendants. Confessions
               by one or more of the defendants are commonplace - and
               indeed the probability of confession increases with the
               number of participants, since each has reduced assurance
               that he will be protected by his own silence. It would impair
               both the efficiency and the fairness of the criminal justice
               system to require, in all these cases of joint crimes where
               incriminating statements exist, that prosecutors bring
               separate proceedings, presenting the same evidence again
               and again, requiring victims and witnesses to repeat the
               inconvenience (and sometimes trauma) of testifying, and
               randomly favoring the last-tried defendants who have the
               advantage of knowing the prosecution’s case beforehand.
               Joint trials generally serve the interests of justice by avoiding

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                inconsistent verdicts and enabling more accurate assessment
                of relative culpability-advantages which sometimes operate
                to the defendant’s benefit. Even apart from these tactical
                considerations, joint trials generally serve the interests of
                justice by avoiding the scandal and inequity of inconsistent
                verdicts. The other way of assuring compliance with an
                expansive Bruton rule would be to forgo use of codefendant
                confessions. That price also is too high, since confessions
                “are more than merely ‘desirable’; they are essential to
                society’s compelling interest in finding, convicting, and
                punishing those who violate the law.”
                                            * * *
                We hold that the Confrontation Clause is not violated by the
                admission of a nontestifying codefendant’s confession with a
                proper limiting instruction when, as here, the confession is
                redacted to eliminate not only the defendant’s name, but any
                reference to his or her existence.

 481 U.S. 209-11 (internal citation omitted).

          The question posed at the outset of this opinion, namely, whether a statement

 that passes muster pursuant to Bruton and Richardson must also pass muster pursuant

 to Crawford was precisely answered in United States v. Lung Fong Chen, 393 F.3d 139,

 150 (2d Cir. 2004), where the court held that a co-defendant’s statement that

 encountered no Bruton error also encountered no Crawford error stating “we see no

 indication that Crawford overrules Richardson or expands the holding of Bruton. We

 therefore do not find that the admission of any of Tu’s statements violated the

 Confrontation Clause.”

          For the foregoing reasons, the motion is denied.

          SO ORDERED.

 Dated:         Brooklyn, New York
                December 18, 2007


                                                                          S/
                                                         I. Leo Glasser




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